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         Exhibit 2
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                                        BULLETIN
                                     22-BB-001-08/04

TO:          ALL LICENSED AND PROSPECTIVE ENTITIES THAT ENGAGE OR PLAN TO
             ENGAGE IN MONEY TRANSMISSION OF VIRTUAL CURRENCY BUSINESS IN
             THE DISTRICT OF COLUMBIA

FROM:        KARIMA M. WOODS, COMMISSIONER

SUBJECT:     CERTAIN BITCOIN ACTIVITY SUBJECT TO DISTRICT OF COLUMBIA MONEY
             TRANSMISSION LAWS

DATE:        AUGUST 4, 2022

The purpose of this bulletin is to provide information to industry participants engaging in or
planning to engage in money transmission with Bitcoin or other virtual currency used as a
medium of exchange, method of payment or store of value in the District.

Money Transmission
Pursuant to DC Code § 26-1001(10), “ʽ[m]oney transmission’ means the sale or issuance of
payment instruments or engaging in the business of receiving money for transmission or
transmitting money within the United States, or to locations abroad, by any and all means,
including but not limited to payment instrument, wire, facsimile, or electronic transfer.”
(emphasis added)

A payment instrument is defined as “any written or electronic check, draft, money order,
travelers check, or other electronic or written instrument or order for the transmission or
payment of money, which is sold or issued to one or more persons, whether or not such
instrument is negotiable”, under DC Code § 26-1001(12). Additionally, pursuant to DC Code §
26-1002(a), in the District, a person must be licensed to engage in the business of money
transmission.

Bitcoin is Money for Money Transmission Purposes
In a July 2020 ruling, the United States District Court for the District of Columbia held in United
States v. Larry Dean Harmon, 474 F.Supp.3d 76 (D.D.C. 2020), that Bitcoin qualifies as money
under its ordinary meaning as adopted by the DC Money Transmitters Act of 2000 (“MTA”), DC
Code §26-1001 et seq. See also, Bank Secrecy Act (BSA), 31 USC 5311 et seq. The Court’s
decision provided that although money transmission is vaguely defined in DC Code, it relied on
the common use of the term “money” which is a “medium of exchange, method of payment or
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store of value.” Therefore, based on Bitcoin’s characteristics, this cryptocurrency functions like
money.

Further, the Court determined that because the DC Council chose to define specialized banking
and financial terms, yet also chose to leave the term money undefined, it signaled that there
was no intent for the term money to have a specialized definition for purposes of the MTA. As
such, the Court adopted the ordinary meaning of money under the MTA which it found also
encompasses Bitcoin. Therefore, the Court reasoned that the goal of the MTA is to regulate all
kinds of transfers of funds, whether fiat currency, virtual currency or cryptocurrencies. The
Court reaffirmed its ruling when Mr. Harmon filed a motion to dismiss counts in his indictment
as being void for vagueness. U.S. v. Harmon, 19-cr-395 (BAH), April 16, 2021, 2021 WL
1698616.


DISB’s Position on Entities Engaging in Bitcoin or Virtual Currency-Related Activity
DISB views the transactions where entities receive for transmission, store, and/or take custody,
of Bitcoin and other virtual currencies from consumers via kiosks (aka BTMs), mobile
applications and/or online transactions, as engaging in the business of “money transmission.”
Such entities require a money transmitter license to operate in the District.
DISB does not view transactions where entities proposing to sell and buy Bitcoin and other
virtual currencies and cryptocurrencies from consumers in exchange for cash payments via
kiosks and/or online transactions as engaging in the business of “money transmission.”


Should the business activities in which entities plan to engage fall within DC Code § 26-
1001(10), then those proposed business activities would subject the company to DISB’s money
transmission licensing requirements.

A company seeking a money transmitter license is required to submit an application so that the
Banking Bureau may determine whether to grant the license. Furthermore, the application
process is fact-driven, and whether an entity is considered a money transmitter requiring a
license to operate in the District depends on the facts and circumstances of each applicant,
including, but not limited to, the applicant’s proposed business plan and proposed flow of
funds. Additionally, information about an applicant’s business model may also be required in
order to make a determination on whether to grant a money transmitter license.

A prospective licensee is encouraged to explore whether its business activities require a money
transmitter license in consultation with its attorneys or advisors.

Any questions or concerns regarding this Bulletin may be directed to the Banking Bureau of the
Department of Insurance, Securities and Banking by email at bankingbureau@dc.gov.
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DISB Mission
Our mission is three-fold: (1) cultivate a regulatory environment that protects consumers and
attracts and retains financial services firms to the District; (2) empower and educate residents
on financial matters; and (3) provide financing for District small businesses.
